Case 2 05 cr-20282-BBD Document 30 Filed 09/01/05 Page 1 of 4

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UNI'I‘EI) STATES oF AMERICA, * § § -;L» §§§P§J§UH?
Plaimifr, *
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* _ w
vs. CR. No. 05 202 ©C§ q m
` '§P’_cn§ l -<
EBoNY JORDAN, * ~ se -' z
cogf do<:g§
Defendant. * §Q‘§ z

 

MOTION TO WAIVE DEFENDANT’S APPEARANCE

COMES NOW counsel for the Defendant, Robert L. Parris, and moves this Honorable Court
to waive the Defendant’s appearance on the October 27"1, 2005 report date. As for grounds for said

motion, your movant would respectfully show unto this Honorable Court as follows:

l. That the Defendant, Ebony Jordan, is stricken With kidney disease, requiring twice

weekly dialysis treatments, one of which is scheduled for October 27"1 2005

2. That counsel will be present on said court date.

3§ That counsel has spoken With AUSA, Camille McMullen who has no opposition to

this continuance and waiver of appearance

WHEREFORE, Defenda.nt prays that this Honorable Court excuse the Defendant’ s presence

    
 
   
   
 

at the aforementioned October 27'11, 2005 report date and for such further relief as the Court deems
necessary
MOT|O GRANTED___
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ERN|CE BOU|E DONALD
U.S. DlSTRICT JUDGE

Case 2:05-Cr-20282-BBD Document 30 Filed 09/01/05 Page 2 of 4 Page|D 37

Respectliilly submitted:

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ROBERT L. PARRIS (19847)
Attomey for Defendant

8 South Third Street, Fourth Floor
Memphis, Tennessee 38103

(901) 529-8500

QELLIFTM

I, the undersigned, do hereby certify that a true and exact copy of the foregoing document has
been served upon Camille McMullen, Assistant United States Attorney, at 167 North Main, Suite
800, Memphis, ri`ennessee 38103, via hand-delivery or by placing the same in the Unite States mail,
postage prepaid, on this the 31st day of August, 2003_

ROBERT L_"PAI€RIS

 

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Case 2:05-cr-20282-
BBD Document 30 Filed 09/01/05 Page 3 of 4 P
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"°GAMBRO Healthcare.

Memphis University Genter
1391 Madison Avenue
AuguSt-¢§, 2005 ‘ Men'lphis,'l'N 38104
USA

www.gambro.com

Tel 901 725 5399
FaX 901 725 0538

TO WHOM IT MAY CONCERN:

RE:- Ebony Jordan SSN XXX-XX-XXXX DOB 08/24/1970

MS. Ebony Jordan is an End Stage Renal Disease patient who has been on chronic
dialysis to maintain her life since 12/10/1990. Ms. Jordan must come to her hernodialysis

treatments every Tuesday, Thursday and Saturday.

through August 3, 2005, Ms. Jordan was hospitalized at Methodist
ly her medical condition at Garnbro

University Hospital. I_arn continuing to follow close
Memphis University Center. Ms. Jordan will not be able to return to work for at least

another three weeks o_r longer.

Frorn July 17 , 2005

Ifthere is any question, please ca11 her social worker, Betty A. McMahon, LCSW at 901-

-725-5399 #13.

Christie A. Green, M.D.
Nephrologist

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UNITED sATE ISTRICT COUR - W"'RNT DISRTCT OFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20282 was distributed by faX, mail, or direct printing on
Septernber 8, 2005 to the parties listed.

 

 

Robert L. Parris

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Honorable Bernice Donald
US DISTRICT COURT

